ORDER OF MULTIDISTRICT LITIGATION PANEL

                     Order Pronounced December 30, 2003


  THE MOTION FOR TRANSFER IN THE FOLLOWING MULTIDISTRICT LITIGATION CASE IS
                             GRANTED AS FOLLOWS:


03-0895     UNION CARBIDE v. AUDREY AMELIA ADAMS, ET AL.

                                 Per Curiam

      On December 12, 2003 the Multidistrict Litigation Panel held a hearing
on the Motion for Transfer filed by Union Carbide Corporation under Rule 13
of the Texas Rules of Judicial Administration. Having considered the
arguments, the evidence, and the authorities presented, a majority of the
panel finds that the following cases involve one or more common questions
of fact, and that transfer of these cases and tag-along cases to one
district judge will be for the convenience of the parties and witnesses and
will promote the just and efficient conduct of the cases:  Cause No. 03-CV-
1402, Audrey Amelia Adams, et al. v. American Standard, Inc., et al., 56th
Judicial District Court of Galveston County, Texas; Cause No. 03-10314,
Giuseppe Cappelli and Virginia Cappelli v. Allis-Chalmers Corp., et al.,
116th Judicial District Court of Dallas County, Texas; and Cause No.
03CV1485, Roy Tittle, et al. v. Quigley Company, Inc., et al., 212th
Judicial District Court of Galveston County, Texas. The panel will issue a
second order naming the judge to whom the cases will be transferred.
      In the event that the pretrial judge or a litigant concludes that one
or more additional pretrial judges are needed in the future, the panel will
entertain at that time a request to transfer cases to an additional judge
or judges.
      If cases that are ready for trial are not remanded to the trial court
for trial under rule 13.7, the panel will entertain complaints from
litigants about the delay and will decide whether to grant relief.
Dissenting opinion filed by Justice  Kidd.
Dissenting opinion filed by Justice Castillo.
